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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al.,                *
                                                   *
       Plaintiffs,                                 *
                                                   *       Consolidated Case Nos.
       v.                                          *       21-cv-01736-TDC (L)
                                                   *       8:22-cv-01967-DLB
MONTGOMERY COUNTY, MARYLAND                        *
                                                   *
       Defendant.                                  *

                                           ORDER

       UPON CONSIDERATION of Plaintiffs’ Emergency Motion for a Rule 8 Injunction

Pending Appeal, any opposition thereto, and any oral argument thereon, it is, this ______ day of

_______________, 2023, by the United State District Court for the District of Maryland, hereby:

       ORDERED that the Plaintiffs’ Motion is DENIED; and it is further

       ORDERED that Plaintiff’s new and supplemental factual allegations and exhibits,

including ECF 93-1, ECF 93-2 and any arguments or factual allegations in ECF 93 relying upon

ECF 93-1 and/or 93-2 are struck.



                                                   ____________________________________
                                                   THEODORE D. CHUANG
                                                   United States District Judge

cc:    all parties of record
